                                                                                027,21*5$17('


                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

UNITED STATES OF AMERICA                            ]
                                                    ]
v.                                                  ]      No. 3:13-00114
                                                    ]      Judge Sharp
CRUZ ALEJANDRO AVENDANO                             ]


________________________________________________________________________

  MOTION TO EXTEND DEADLINE FOR FILING OF WAIVER BY FORTY-
                           EIGHT (48) HOURS
________________________________________________________________________

       Comes now undersigned counsel and hereby respectfully moves this Honorable

Court to allow him to file the speedy trial waiver approximately 1-2 days after the

deadline announced by the Court in docket entry 42. For cause, counsel would state and

show the following:

       (1)    The Defendant, Mr. Avendano, does not speak English. He is currently

                  being housed in the Grayson County Jail in Leitchfield, Kentucky.

       (2)    Counsel had planned on visiting Mr. Avendano last weekend (September

                  1) but was unable to due to family illness.

       (3)    Counsel had hoped to visit Mr. Avendano today, September 3, 2013, but

                  was unable to find an interpreter on such short notice.

       (4)    Based on the above difficulties, undersigned counsel has requested the

                  U.S. Marshalls bring Mr. Avendano to Nashville on Thursday,

                  September 5, 2013. This was the earliest counsel could schedule such

                  a trip.




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